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   6                         UNITED STATES DISTRICT COURT
   7                       CENTRAL DISTRICT OF CALIFORNIA
   8                                WESTERN DIVISION
   9 PARAMOUNT PICTURES                           Case No.: CV 19-1156-DMG (PJWx)
     CORPORATION; et al.,
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                                                  ORDER REGARDNG
  11                Plaintiffs,                   STIPULATION TO RESPOND TO
                                                  INITIAL COMPLAINT BY NOT
  12 vs.                                          MORE THAN 30 DAYS (L.R. 8-3)
                                                  [18]
  13 OMNIVERSE ONE WORLD
     TELEVISION, INC.; et al.,
  14
               Defendants.
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  17        Upon consideration of the Parties’ Stipulation to Extend Time to Respond to
  18 Initial Complaint by Not More Than 30 Days (L.R. 8-3), and good cause appearing
  19 therefor,
  20        IT IS HEREBY ORDERED THAT:
  21        [1] the time for Defendants to (1) answer or otherwise respond to the
  22 Complaint and (2) file any counterclaims in the above-captioned action shall be, and
  23 hereby is, extended to April 10, 2019; and
  24        [2] Defendants will not, in opposing Plaintiffs’ anticipated motion for a
  25 preliminary injunction, claim prejudice, claim delay, or otherwise rely on the time
  26 between Plaintiffs’ filing of the Complaint and April 10, 2019.
  27 DATE: March 13, 2019                   ________________________________
                                            DOLLY M. GEE
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                                            UNITED STATES DISTRICT JUDGE
